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 6
     ATTORNEY FOR DEFENDANT
 7   ARSEN MUHTAROV
 8

 9

10
                        IN THE UNITED STATES DISTRICT COURT FOR THE
11
                                EASTERN DISTRICT OF CALIFORNIA
12

13

14
     UNITED STATES OF AMERICA, )              CR.NO.S-14-44--GEB
15                              )
     PLAINTIFF,                 )             STIPULATION BETWEEN THE PARTIES TO
16
                                )             CONTINUE THE STATUS CONFERENCE TO
17                   v.         )             FRIDAY, JUNE 17, 2016 WITH
                                )             EXCLUSION OF TIME FROM THE SPEEDY
18   ALEKSANDR KUZMENKO, et al.,)             TRIAL ACT AND PROPOSED ORDER
19
                                )
                                )
20   DEFENDANTS.                )
                                )
21   ___________________________)
22

23
           The parties to this litigation, the United States of America, represented by
24
     Assistant United States Attorney, Michele M. Beckwith, and for the defendants: 1-
25

26   Michael L. Chastaine representing Petr Kuzmenko.; 2- Steven B. Plesser representing

27

28

           Stipulation to Continue and Exclude Time to

           June 17, 2016 - 1
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 1   Arsen Muhtarov; and 3- James R. Greiner representing Valeriy Nikitchuk hereby agree
 2
     and stipulate to the following1:
 3

 4                           1- By previous order, this matter was set for status on Friday, April

 5   8, 2016.

 6
                             2. By this Stipulation, the defendants collectively now move to
 7

 8   continue the status conference until Friday, June 17, 2016 and to exclude time

 9   pursuant to the Speedy Trial Act between Friday, April 8, 2016 and Friday, June 17,
10
     2016, under Local Codes T-2 (complexity due to the amount of discovery, number
11
     of defendants and potential legal issues) and T-4 (time for adequate attorney
12
     preparation), and for continuity of counsel. The government, to date, has produced
13

14   discovery of more than approximately 15,300 pages in this case.

15                           3. The parties agree and stipulate to the following and request the
16
     Court to find the following:
17
                             a. The government has produced initial discovery to date which
18

19   consists of approximately over 15,300 pages.

20                           b. Counsel for all defendants need additional time to continue to
21
     review all the discovery with their respective clients, to continue investigation into this
22
     case, continue to do research, which includes legal research, in this case, and to
23
     otherwise continue to do review and investigation, using due diligence, that this complex
24

25   case requires.

26
                1
                The government requested that the format presented in this stipulation be used by the
27
     parties.
28

                Stipulation to Continue and Exclude Time to

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 1                        c. The Government is diligently working on extending plea
 2
     agreements to all defendants and additional time is needed for the offers to be extended
 3
     and counsel and defendants to review same.
 4

 5
                          d. Counsel for all defendants represents that the failure to grant the

 6   above requested continuance would deny counsel for each individual defendant the
 7   reasonable time necessary for effective preparation, taking into account the exercise of
 8
     due diligence.
 9
                          e. The government, based on all of the above, does not object to
10

11   the continuance.

12                        f. To ensure continuity of counsel, and to allow sufficient time for
13
     discussions by and with and between the government and all defendants about the
14
     case and to explore any potential for possible resolution, in the exercise of reasonable
15
     diligence the continuance of the status conference is reasonable.
16

17                        i. Based on the above stated findings, the ends of justice served by

18   continuing the case as requested outweigh the interest of the public and all the
19
     defendants in a trial within the original date prescribed by the Speedy Trial Act.
20
                          h. For the purpose of computing the time under the Speedy Trial
21

22   Act, Title 18 U.S.C. section 3161, et seq., within which trial must commence, the time

23   period from Friday, April 8, 2016 to Friday, June 17, 2016, inclusive, is deemed
24
     excludable pursuant to Title 18 U.S.C. section 3161(h)(7)(B)(ii) which corresponds to
25
     Local Code T-2 and Title 18 U.S.C. section 3161(h)(7)(B)(iv) corresponding to Local
26
     Code T-4, because it results from a continuance granted by the Court at defendants’
27

28   request on the basis of the Court’s finding that both, the case is complex due to the

            Stipulation to Continue and Exclude Time to

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              Case 2:14-cr-00044-TLN Document 79 Filed 04/08/16 Page 4 of 5


 1   amount of discovery and number of defendants and potential legal issues in the case
 2
     and that the ends of justice served by taking such action outweigh the best interest of
 3
     the public and all of the defendants in a speedy trial.
 4

 5
            4. Nothing in this stipulation and order shall preclude a finding that other

 6   provisions of the Speedy Trial Act dictate that additional time periods are excludable
 7   from the period within which a trial must commence.
 8
                          IT IS SO STIPULATED.
 9
                          Each attorney has granted Steven B. Plesser full authority to sign
10

11   for each individual attorney.

12

13
            Respectfully submitted:
14
                                 BENJAMIN B. WAGNER
15                               UNITED STATES ATTORNEY
16
     DATED: 4-7-16               /s/ Michele M. Beckwith
17                               _____________________________________
                                 Michele M. Beckwith
18                               ASSISTANT UNITED STATES ATTORNEY
19
                                 ATTORNEY FOR THE PLAINTIFF

20

21   DATED: 4-7-16               /s/ Michael L. Chastaine
22                               __________________________________
                                 Michael L. Chastaine
23                               Attorney for Defendant
                                 1- Petr Kuzmenko
24

25   DATED: 4-7-16               /s/ Steve B. Plesser
                                 __________________________________
26                               Steve B. Plesser
                                 Attorney for Defendant
27
                                 2- Arsen Muhtarov
28

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 1   DATED: 4-7-16             /s/ James R. Greiner
                               ________________________________
 2
                               James R. Greiner
 3                             Attorney for Defendant
                               3- Valeriy Nikitchu
 4

 5

 6                                    [PROPOSED] ORDER
 7

 8
       IT IS SO FOUND AND ORDERED.
 9
     Dated: April 8, 2016
10

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           Stipulation to Continue and Exclude Time to

           June 17, 2016 - 5
